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            EXHIBIT 1
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                                    Wi-Lan Inc. v. Sharp Elecs. Corp.
                                  United States Court of Appeals for the Federal Circuit
                                                 April 6, 2021, Decided
                                                 2020-1041, 2020-1043

Reporter
2021 U.S. App. LEXIS 9909 *; __ F.3d __; 2021 WL 1257074


                                                              Case Summary

WI-LAN INC., Plaintiff-Appellant v. SHARP                     Overview
ELECTRONICS CORPORATION, Defendant-
Appellee;WI-LAN INC., Plaintiff-Appellant v. VIZIO,           HOLDINGS: [1]-The district court did not abuse its
INC., Defendant-Appellee                                      discretion in holding that source code printouts did not
                                                              constitute business records admissible under Fed. R.
                                                              Evid. 803(6) because declarations from the employees
                                                              of third-party manufacturers purporting to authenticate
Prior History: [*1] Appeal from the United States             the source code printouts could not be used as a
District Court for the District of Delaware in No. 1:15-cv-   substitute for trial testimony to authenticate the printouts
00379-LPS, Chief Judge Leonard P. Stark. Appeal from          since a patent owner did not establish that the
the United States District Court for the District of          declarants would be available to testify at trial; [2]-The
Delaware in No. 1:15-cv-00788-LPS, Chief Judge                district court did not abuse its discretion in rejecting the
Leonard P. Stark.                                             owner's theory that the source code printout should
                                                              have been admitted into evidence under Fed. R. Evid.
                                                              703 because the owner attempted to do exactly what
Wi-Lan Inc. v. Sharp Elecs. Corp., 362 F. Supp. 3d 226,       was impermissible under Rule 703 by using its expert as
2019 U.S. Dist. LEXIS 25580 (D. Del., Feb. 14, 2019)          a substitute for a fact witness to circumvent the rules of
                                                              evidence to admit otherwise inadmissible evidence.



Disposition: AFFIRMED.


                                                              Outcome
                                                              Summary judgment affirmed.
Core Terms
source code, stream, multimedia, district court,
declarations, printout, infringement, output, video,
hearsay, manufacturers, authenticate, combined,               LexisNexis® Headnotes
reasonably rely, television set, system-on-chip,
analyzer, encoding, summary judgment, business
record, interlaced, processor, coupled, display, argues,
inadmissible evidence, inadmissible, integrated, frame,
lack of trustworthiness
                                                                  Civil Procedure > Appeals > Standards of
                                                                  Review > Abuse of Discretion
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    Evidence > Admissibility > Procedural                       the burden is on the opponent to show that the source
    Matters > Rulings on Evidence                               of information or the method or circumstances of
                                                                preparation indicate a lack of trustworthiness.
    Civil Procedure > Appeals > Summary Judgment
    Review > Standards of Review
                                                                    Evidence > Authentication > Self-Authentication
    Civil Procedure > Appeals > Standards of
    Review > De Novo Review
                                                                HN3[   ] Authentication, Self-Authentication
HN1[    ] Standards of Review, Abuse of Discretion
                                                                Under Fed. R. Evid. 902(11), a domestic record is self-
                                                                authenticating if it meets the requirements of Fed. R.
The court of appeals reviews a grant of summary
                                                                Evid. 803(6)(A)—(C), as shown by a certification of the
judgment de novo. It applies regional circuit law to
                                                                custodian or another qualified person, and the adverse
evidentiary determinations. The Third Circuit reviews a
                                                                party had reasonable written notice of the intent to offer
district court's evidentiary rulings for abuse of discretion.
                                                                the record so that the party has a fair opportunity to
                                                                challenge it. Fed. R. Evid. 902(11).

    Evidence > ... > Exceptions > Business
    Records > Admissibility in Criminal Trials
                                                                    Civil Procedure > ... > Summary
    Evidence > ... > Exceptions > Business                          Judgment > Supporting Materials > Affidavits
    Records > Normal Course of Business
                                                                    Evidence > Types of Evidence > Documentary
    Evidence > Authentication > Self-Authentication                 Evidence > Affidavits

    Evidence > Burdens of Proof > Allocation                    HN4[   ] Supporting Materials, Affidavits

HN2[ ]     Business       Records,      Admissibility     in    Hearsay evidence produced in an affidavit opposing
Criminal Trials                                                 summary judgment may be considered if the out-of-
                                                                court declarant could later present the evidence through
The business records exception allows admission of              direct testimony, i.e., in a form that would be admissible
records of regularly conducted activity through the             at trial.
testimony of a custodian or other qualified witness. Fed.
R. Evid. 803(6). Specifically, the hearsay exception of
Rule 803(6) permits a "record" that meets the following             Evidence > Authentication > Self-Authentication
five requirements to be admitted into evidence: (A) the
record was made at or near the time by, or from                 HN5[   ] Authentication, Self-Authentication
information transmitted by—someone with knowledge,
(B) the record was kept in the course of a regularly            The text of Fed. R. Evid. 803(6) requires the conditions
conducted activity of a business, organization,                 of the Rule to be shown by the testimony of the
occupation, or calling, whether or not for profit, (C)          custodian or another qualified witness or by a
making the record was a regular practice of that activity,      certification that complies with Fed. R. Evid. 902(11) or
(D) all of these conditions are shown by the testimony of       (12) or with a statute permitting certification. Fed. R.
the custodian or another qualified witness, or by a             Evid. 803(6)(D).
certification that complies with Fed. R. Evid. 902(11) or
(12) or with a statute permitting certification; and(E) the
opponent does not show that the source of information
                                                                    Evidence > Admissibility > Scientific
or the method or circumstance of preparation indicate a
                                                                    Evidence > Voice Identification
lack of trustworthiness. Fed. R. Evid. 803(6). If the
proponent has established the stated requirements of
                                                                HN6[   ] Scientific Evidence, Voice Identification
the exception, regular business with regularly kept
record, source with personal knowledge, record made             Fed. R. Evid. 901(b)(4) permits a record to be admitted
timely, and foundation testimony or certification, then
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into evidence if the appearance, contents, substance,         HN9[ ] Exclusion of Relevant Evidence, Confusion,
internal patterns, or other distinctive characteristics of    Prejudice & Waste of Time
the item, taken together with all the circumstances
support a finding that the item is what the proponent         Fed. R. Evid. 703 permits the proponent of an expert's
claims it is. Fed. R. Evid. 901(a), (b)(4).                   opinion to disclose the underlying material to a jury if
                                                              experts in the particular field would reasonably rely on
                                                              the underlying material and if the underlying material's
                                                              probative value in helping the jury evaluate the opinion
    Evidence > Relevance > Exclusion of Relevant
                                                              substantially outweighs its prejudicial effect. Fed. R.
    Evidence > Confusion, Prejudice & Waste of Time
                                                              Evid. 703. But the trial judge must give a limiting
                                                              instruction upon request, informing the jury that the
    Evidence > Admissibility > Expert
                                                              underlying information must not be used for substantive
    Witnesses > Daubert Standard
                                                              purposes.
HN7[ ] Exclusion of Relevant Evidence, Confusion,
Prejudice & Waste of Time
                                                                  Evidence > ... > Expert Witnesses > Credibility of
An expert may base an opinion on facts or data in the             Witnesses > Impeachment
case that the expert has been made aware of or
personally observed. If experts in the particular field       HN10[    ] Credibility of Witnesses, Impeachment
would reasonably rely on those kinds of facts or data in
forming an opinion on the subject, they need not be           Although Fed. R. Evid. 703 permits experts some
admissible for the opinion to be admitted. But if the facts   leeway in basing their opinions on inadmissible
or data would otherwise be inadmissible, the proponent        evidence, a party cannot call an expert simply as a
of the opinion may disclose them to the jury only if their    conduit for introducing hearsay under the guise that the
probative value in helping the jury evaluate the opinion      testifying expert used the hearsay as the basis of his
substantially outweighs their prejudicial effect. Fed. R.     testimony. Rather, the appropriate way to adduce
Evid. 703.                                                    factual details of specific past events is, where possible,
                                                              through persons who witnessed those events.


    Evidence > Admissibility > Expert
    Witnesses > Ultimate Issue                                    Evidence > Rule Application & Interpretation

HN8[   ] Expert Witnesses, Ultimate Issue                     HN11[ ]       Evidence,       Rule      Application       &
                                                              Interpretation
Fed. R. Evid. 703 does not make admissible otherwise
inadmissible evidence. That is because Rule 703 is not,       Courts must serve a gate-keeping function with respect
itself, an exception to or exclusion from the hearsay rule    to Fed. R. Evid. 703 opinions to ensure the expert isn't
or any other evidence rule that makes the underlying          being used as a vehicle for circumventing the rules of
information inadmissible. Rule 703 does not authorize         evidence. Rule 703 was not intended to abolish the
admitting inadmissible evidence on the pretense that it       hearsay rule and to allow a witness, under the guise of
is the basis for expert opinion when, in fact, the expert     giving expert testimony, to in effect become the
adds nothing to the inadmissible evidence other than          mouthpiece of the witnesses on whose statements or
transmitting it to the jury. In such a case, Rule 703 is      opinions the expert purports to base his or her opinion.
simply inapplicable and the usual rules regulating the
admissibility of evidence control.
                                                                  Evidence > Admissibility > Expert
                                                                  Witnesses > Daubert Standard
    Evidence > Relevance > Exclusion of Relevant
    Evidence > Confusion, Prejudice & Waste of Time           HN12[    ] Expert Witnesses, Daubert Standard

    Evidence > ... > Testimony > Expert                       Fed. R. Evid. 703 does not sanction the simple
    Witnesses > Criminal Proceedings                          transmission of hearsay; it only permits an expert
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opinion based on hearsay.                                  SAAD.


                                                           JOHN C. O'QUINN, Kirkland & Ellis LLP, Washington,
    Evidence > ... > Testimony > Expert                    DC, argued for all defendants-appellees. Defendant-
    Witnesses > Criminal Proceedings                       appellee Sharp Electronics Corporation also
                                                           represented by WILLIAM H. BURGESS; ADAM R.
HN13[   ] Expert Witnesses, Criminal Proceedings           ALPER, San Francisco, CA; GIANNI CUTRI,
                                                           KATHERINE E. RHOADES, Chicago, IL; MICHAEL W.
An expert witness may not simply summarize the out-of-     DE VRIES, Los Angeles, CA.
court statements of others as his or her testimony.

                                                           MARK S. DAVIES, Orrick, Herrington & Sutcliffe LLP,
                                                           Washington, DC, for defendant-appellee VIZIO, Inc.
    Evidence > Admissibility > Expert                      Also represented by ELIZABETH MOULTON, Menlo
    Witnesses > Daubert Standard                           Park, CA; STANLEY MARTIN GIBSON, Jeffer Mangels
                                                           Butler & Mitchell, Los Angeles, CA.
    Evidence > ... > Procedural Matters > Preliminary
    Questions > Witness Qualifications

HN14[   ] Expert Witnesses, Daubert Standard
                                                           Judges: Before DYK, TARANTO, and STOLL, Circuit
                                                           Judges.
Under Fed. R. Evid. 703, data relied on by the expert
need not be admissible for the opinion to be admitted if
experts in the field would reasonably rely on such data.
Fed. R. Evid. 703. It is the judge who makes the
determination of reasonable reliance, and for the judge    Opinion by: DYK
to make the factual determination under Fed. R. Evid.
104(a) that an expert is basing his or her opinion on a
type of data reasonably relied upon by experts, the
judge must conduct an independent evaluation into          Opinion
reasonableness. The burden to establish reasonable
reliance is on the proponent of challenged expert
testimony.                                                 DYK, Circuit Judge.

                                                           Wi-LAN Inc. appeals two related judgments of the
                                                           United States District Court for the District of Delaware,
    Civil Procedure > Appeals > Standards of
                                                           on summary judgment in one instance and by stipulation
    Review > De Novo Review
                                                           in the other, holding that Sharp [*2] Electronics
    Patent Law > Jurisdiction & Review > Standards of      Corporation and Vizio, Inc. did not infringe the asserted
    Review > De Novo Review                                claims of U.S. Patent No. 6,359,654 ("the '654 patent")
                                                           and U.S. Patent No. 6,490,250 ("the '250 patent"). We
HN15[   ] Standards of Review, De Novo Review              affirm.

The court of appeals reviews a district court's ultimate
claim construction de novo where there is no extrinsic     BACKGROUND
evidence that bears on the claim construction.
                                                           Wi-LAN is the owner of the '654 and '250 patents. The
                                                           '654 patent concerns "methods to display interlaced
                                                           video on [a] noninterlaced monitor." '654 patent,
                                                           abstract. This is also known as "deinterlacing."
                                                           Interlaced video was developed at the inception of
Counsel: DANIEL FLETCHER OLEJKO, Bragalone
                                                           electronic television in 1936 and became the
Olejko Saad PC, Dallas, TX, argued for plaintiff-
                                                           standardized video format adopted by the National
appellant. Also represented by MONTE BOND, TERRY
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Television Systems Committee. Most television sets            independent method claim and claims 4 and 9 depend
used interlaced video formats during that time period         on claim 1. Claim 1 of the '250 patent is an independent
and for decades afterwards. Interlacing video was             apparatus claim and claims 4 and 6 depend on claim 1.
developed to prevent a "flicker" effect, an effect that
results from the difference in the frame rate of the          The deinterlacing functions (which allegedly infringe the
television set and the frame rate in which a program          asserted method claims of the '654 patent) and the
was filmed. To interlace a video, the video frame is split    components that optimize bit streaming (which allegedly
into two fields, which correspond to the odd and even         infringe the asserted system claims of the '250 patent)
lines of a video frame. The first field (comprising of data   reside on each television set's "system-on-chip." A
on the odd lines) is scanned onto a television set in the     system-on-chip combines numerous functions of a
first 1/60th of a second, and the second field                system (e.g., storage, memory, processing, and
(comprising of data on the even lines) is scanned in the      control), previously implemented in multiple chip sets,
next 1/60th of a second. Because the fields are               onto a single chip.
displayed on television sets at a rate of 60 fields per
                                                              On February 27, 2018, the district court issued an order
second, the viewer does [*3] not notice any missing
                                                              construing certain terms of the '654 patent and the '250
content and perceives the two fields as a single frame.
                                                              patent. Following the district court's claim construction
The need for deinterlacing arose in the 1980s and             order, [*5] Wi-LAN conceded that it could not prove
1990s due to the development of higher-quality                infringement of the asserted claims of the '250 patent
television sets and the need to display television video      under the district court's constructions of "output
signals on computer monitors. All modern television sets      multimedia data stream" and "a multimedia processor,
use noninterlaced displays. Noninterlaced video, unlike       coupled to the data rate analyzer." These two terms are
interlaced video, displays an entire frame every 1/60th       common to all asserted claims of the '250 patent. The
of a second and allows for increased detail to be             district court entered a stipulated judgment of
displayed on a screen. The '654 patent does not claim         noninfringement of the '250 patent.
to have invented deinterlacing but claims "methods and
                                                              With respect to the '654 patent, Wi-LAN alleged both
systems for displaying interlaced video on monitors
                                                              direct and induced infringement. The parties filed cross-
[that] are non-interlaced." '654 patent, col. 1 ll. 13-15.
                                                              motions for summary judgment on the issue of
The other patent at issue here, the '250 patent, "relates     infringement. The district court explained that Wi-LAN
generally to multimedia encoders and specifically [to] an     has known that it could not establish infringement
integrated multimedia stream multiplexer." '250 patent,       without establishing that the source code of Sharp's and
col. 1 ll. 5-7. A stream multiplexer receives separate        Vizio's systems actually practiced the patented method.
audio and video data streams and combines them into a
                                                              The district court granted Sharp and Vizio's motion for
single multimedia data stream. The '250 patent is
                                                              summary judgment of noninfringement, holding that
directed to a system for dynamically adjusting the bit
                                                              WiLAN lacked sufficient admissible evidence to prove
rates of the input audio and video data streams to obtain
                                                              direct infringement. The district court found that the
a combined multimedia data stream with an optimal bit
                                                              printout of the source code that Wi-LAN sought to use
rate.
                                                              as evidence was inadmissible.
Vizio currently sells and through 2015 Sharp sold
"smart" television sets. On May [*4] 11, 2015, Wi-LAN         Wi-LAN appealed in each case. Because the underlying
brought suit for patent infringement against Sharp,           cases were related, this court consolidated the appeals.
alleging direct and induced infringement of various           We have jurisdiction under 28 U.S.C. § 1295(a)(1).
claims of the '654 and '250 patents. On September 8,
2015, Wi-LAN filed a similar complaint against Vizio,
asserting the same claims of the '654 and '250 patents.       DISCUSSION
The district court did not consolidate the Vizio and
Sharp cases but managed the cases in parallel.                I

Wi-LAN accused Sharp and Vizio of infringing claims 1,        With respect to the '654 patent, Wi-LAN [*6] challenges
4, and 9 of the '654 patent and claims 1, 4, and 6 of the     the district court's grant of summary judgment of
'250 patent. Claim 1 of the '654 patent is an
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noninfringement to Vizio and Sharp.1 HN1[ ] We                            manufacturers purporting to authenticate the source
review a grant of summary judgment de novo.                               code printouts. The declarations stated that the source
MobileMedia Ideas LLC v. Apple Inc., 780 F.3d 1159,                       code "provide[d] the implementation of the deinterlacing
1164 (Fed. Cir. 2015) (citing Gonzalez v. Sec'y of Dep't                  process for digital video data in a specified list of chips"
of Homeland Sec., 678 F.3d 254, 257 (3d Cir. 2012)).                      and "add[ed] that there [we]re 'no material differences'
We apply regional circuit law to evidentiary                              between the version of code produced and any versions
determinations. TecSec, Inc. v. Adobe Inc., 978 F.3d                      used since 2009." J.A. 26-27 (footnote omitted). The
1278, 1285 (Fed. Cir. 2020). The Third Circuit reviews a                  source code included "added commentary on the
district court's evidentiary rulings for abuse of discretion.             printed excepts." J.A. 29. The district court held that this
Acumed LLC v. Advanced Surgical Servs., Inc., 561                         evidence was inadmissible and that Wi-LAN had failed
F.3d 199, 211 (3d Cir. 2009).                                             to raise a genuine issue of material fact as to
                                                                          noninfringement. On appeal, Wi-LAN has several
The district court granted summary judgment because                       theories as to why the district court [*8] erred and why
Wi-LAN had failed to provide admissible evidence of the                   the source code printout was admissible.
source code that Wi-LAN needed to prove its
                                                                          A
infringement theories as to claims 1, 4, and 9.2

Wi-LAN supplied documents from the third-party chip                       Wi-LAN argues that the source code printout constituted
manufacturers purported to be the source code printouts                   a business record, admissible under the business
together with declarations from employees of the                          records exception to the hearsay rule. HN2[ ] "The
                                                                          business records exception allows admission of records
                                                                          of regularly conducted activity through the testimony of
                                                                          a custodian or other qualified witness." Crash Dummy
1 On   appeal, Wi-LAN also argues that the district erred in              Movie, LLC v. Mattel, Inc., 601 F.3d 1387, 1392 (Fed.
certain discovery rulings that adversely affected its ability to          Cir. 2010) (citing Fed. R. Evid. 803(6)). Specifically, the
prove induced infringement of the asserted claims of the '654             hearsay exception of Rule 803(6) permits a "record" that
patent. Because we hold that Wi-LAN cannot establish direct
                                                                          meets the following five requirements to be admitted
infringement, we do not need to reach these issues related to
                                                                          into evidence:
induced infringement.
                                                                               (A) the record was made at or near the time by—or
2 Claim 1 of the '654 patent (the only asserted independent                    from information transmitted by—someone with
claim) provides:                                                               knowledge;
       1. A method for displaying interlaced video data on a                   (B) the record was kept in the course of a regularly
       non-interlaced monitor, the interlaced video data                       conducted activity of a business, organization,
       comprising a plurality of paired fields, each pair of fields            occupation, or calling, whether or not for profit;
       being vertically offset relative to each other by one-half of           (C) making the record was a regular practice of that
       a field line spacing distance, each field comprising a                  activity;
       plurality of lines of video data, the method including:
       (a) capturing a first field and a second field of each pair of          (D) all of these conditions are shown by the
       fields into respective buffers;                                         testimony of the custodian or another qualified
                                                                               witness, or by a certification that complies with Rule
       (b) scaling each of the first field and second field of each
                                                                               902(11) or (12) or with a statute permitting
       pair of fields to fill vertical resolution of the non-interlaced
       monitor;
                                                                               certification;3 and
                                                                               (E) the opponent does not show that the source of
       (c) adjusting one of the first field or second field of the             information or the method or circumstance of
       pair of fields to substantially correct for the vertical offset         preparation indicate a lack of trustworthiness.
       between [*7] the pairs of fields, where said adjusting is
       performed concurrently with said scaling;
       (d) displaying the first field of each pair of fields on the       3 HN3[   ] Under Rule 902(11), a domestic record is self-
       non-interlaced monitor in a first time period; and                 authenticating if it "meets the requirements of Rule
                                                                          803(6)(A)—(C), as shown by a certification of the custodian or
       (e) displaying the second field of each pair of fields on the
                                                                          another qualified person," and the adverse party had
       non-interlaced monitor in a second time period
                                                                          "reasonable written notice of the intent to offer the record . . .
       subsequent to the first time period.
                                                                          so that the party has a fair opportunity to challenge [it]." Fed.
       '654 patent, col. 10 ll. 46-65.                                    R. Evid. 902(11).
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Fed. R. Evid. 803(6). "[I]f the proponent has established       Wi-LAN also seems to argue that it properly
the stated [*9] requirements of the exception—regular           authenticated the source code printout because the
business with regularly kept record, source with                declarations were custodial declarations that were
personal knowledge, record made timely, and                     themselves admissible as business records under [*11]
foundation testimony or certification—then the burden is        Rule 803(6). Wi-LAN, however, admits that it obtained
on the opponent to show that the source of information          the source code printout and declarations by filing
or the method or circumstances of preparation indicate          lawsuits against the manufacturers and then dismissing
a lack of trustworthiness." Fed. R. Evid. 803(6) advisory       the lawsuits without prejudice after the manufacturers
committee's notes to 2014 amendments.                           provided Wi-LAN with the source code printout and
                                                                declarations it sought. Wi-LAN even explains that "[t]he
To establish that the source code printout was an               lawsuits were necessary to secure production of the
admissible business record under Rule 803(6), Wi-LAN            source code and declarations because [the system-on-
was required to establish by testimony from a "custodian        chip manufacturers] had refused to cooperate in
or other another qualified witness" that the documents          discovery." Appellant's Br. 51. The declarations thus do
satisfied the requirements of the Rule. Wi-LAN argues           not constitute a "record [that] was kept in the course of a
that it properly authenticated the source code printout         regularly conducted activity of a business." Fed. R. Evid.
through the declarations of the chip manufacturers'             803(6)(B). Instead, the declarations were created and
employees. We agree with the district court that the            prepared for the purposes of litigation, placing them
declarations could not be used to authenticate the              outside the scope of the exception. As a result, the
source code printout on the theory that the declarations        declarations were not admissible as business records
were a proxy for trial testimony or themselves                  for use to authenticate the source code printout.
admissible as business records.
                                                                Wi-LAN argues alternatively that, under Third Circuit
As Wi-LAN notes, declarations are typically used at             law, these deficiencies in the declarations did not
summary judgment as a proxy for trial testimony. But            preclude their use. It bases its theory on the Third
declarations cannot be used for this purpose unless the         Circuit's view that "the testimony of the custodian or
witness will be available to testify at trial. Under Federal    another qualified witness" under Rule 803(6)(D) "can be
Rule of Civil Procedure 56(c)(2), Wi-LAN [*10] was              met by documentary evidence, affidavits, or admissions
required to "explain the admissible form that is                of the parties, [*12] i.e., by circumstantial evidence, or
anticipated." Fed. R. Civ. P. 56(c)(2) advisory                 by a combination of direct and circumstantial evidence."
committee's notes on 2010 amendments. Wi-LAN                    In re Japanese Elec. Prods. Antitrust Litig., 723 F.2d
argued that it met this burden by explaining that the           238, 288 (3d Cir. 1983), rev'd on other grounds sub
declarants were available to testify at trial. The district     nom. Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
court, however, found the opposite. Indeed, when asked          475 U.S. 574, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986).
by the court at the summary judgment hearing whether            The Third Circuit adopted this view after concluding that
the declarants would appear at trial, Wi-LAN's counsel          "[i]t would make little sense to require live witness
responded that Wi-LAN did not "think that [it would be]         testimony every time a business record is offered when,
able to force them to come to trial." J.A. 15,398-99.           from the other materials open for the court's
                                                                consideration, it can make the required finding to its own
Wi-LAN thus did not establish that the declarants would         satisfaction." Id.
be available to testify at trial and, as a result, the
declarations could not be used as a substitute for trial        HN5[ ] The Third Circuit's approach runs counter to
testimony. E.g., Fraternal Order of Police, Lodge 1 v.          the text of Rule 803(6), which requires the conditions of
City of Camden, 842 F.3d 231, 238 (3d Cir. 2016)                the Rule to be shown "by the testimony of the custodian
(testimony admissible if declarants were available to           or another qualified witness[] or by a certification that
testify at trial); J.F. Feeser, Inc. v. Serv-A-Portion, Inc.,   complies with Rule 902(11) or (12) or with a statute
909 F.2d 1524, 1542 (3d Cir. 1990) (HN4[ ] "[H]earsay           permitting certification." Fed. R. Evid. 803(6)(D). Its view
evidence produced in an affidavit opposing summary              appears not to have been widely adopted. See 5
judgment may be considered if the out-of-court                  Weinstein's Federal Evidence § 803.08[c] & n.76. But
declarant could later present the evidence through direct       even under this approach, the declarations do not
testimony, i.e., in a form that 'would be admissible at         suffice because Wi-LAN does not meet Rule 803(6)'s
trial.'" (quoting Williams v. Borough of West Chester,          final requirement that "the opponent does not show that
891 F.2d 458, 465 n.12 (3d Cir. 1989)).                         the source of information or the method or circumstance
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of preparation indicate a lack of trustworthiness." Fed.      of indicia of trustworthiness in the source code," J.A. 30,
R. Evid. 803(6)(E).                                           as described in the previous Section. On this record, the
                                                              district court did not abuse its discretion in refusing to
The district court concluded that Sharp and Vizio "have       treat the source code printout as evidence under Rule
demonstrated a lack of trustworthiness in the materials;      901(b)(4).
the source code contains inconsistent dates in the
metadata, copyright, [*13] and revisions histories as         C
well as added commentary on the printed excerpts." J.A.
                                                              Wi-LAN alternatively argues that the source code
29. The court also found that Wi-LAN "failed to obtain
                                                              printout should have been admitted into evidence under
change logs, file comparisons, or other evidence of
                                                              Federal Rule of Evidence 703.4 Wi-LAN's expert
code revisions that might clear up the inconsistencies in
                                                              submitted a report stating that Sharp's and Vizio's
the code." J.A. 29. And the district court found that
                                                              television sets infringe the claimed methods of the '654
     [t]he circumstances surrounding the production,
                                                              patent by the use of the source code. Wi-LAN's [*15]
     including the fact that the [system-on-chip]
                                                              expert did not attempt to authenticate the source code
     manufacturers originally claimed that they could not
                                                              printout. But Wi-LAN argues that its expert should be
     produce one version of source code for all [system-
                                                              able to opine on the meaning of the inadmissible source
     on-chips] at issue in the case, raise[d] further
                                                              code printout and to provide the inadmissible source
     concern as to the credibility of both the source code
                                                              code printout to the jury despite Wi-LAN's failure to
     and the [system-on-chip] declarations seeking to
                                                              authenticate the source code printout.
     authenticate the code.
                                                              Wi-LAN's argument presents two separate and distinct
Id. The Third Circuit has affirmed a district court's         questions: (1) whether the source code printout was
decision to not admit records on similar grounds. See         admissible because it was relied on by the expert and
SEC v. Hughes Capital Corp., 124 F.3d 449, 456 (3d            (2) whether the expert's testimony relying on the source
Cir. 1997) (holding that a district court did not abuse its   code was admissible to establish infringement. The
discretion in refusing to admit altered copies of a record    answer to the first question is "no" because expert
under Rule 803(6) because the records indicated "a lack       reliance does not translate [*16] to admissibility. The
of trustworthiness").                                         answer to the second question is also "no" because Wi-
                                                              LAN did not establish that experts in the field
The district court did not abuse its discretion in holding
                                                              "reasonably rely on" unauthenticated source code.
that the source code printout does not constitute a
business record admissible under Rule 803(6).                 HN8[ ] As to the first question, "Rule 703 does not
B                                                             make admissible otherwise inadmissible evidence." 4
                                                              Weinstein's Federal Evidence § 703.05 n.12. That is
Wi-LAN also appears to argue that the district court          because "Rule 703 is not, itself, an exception to or
should have found the source code printout                    exclusion from the hearsay rule or any other evidence
admissible [*14] under Federal Rule of Evidence               rule   that    makes     the    underlying   information
901(b)(4). HN6[ ] Rule 901(b)(4) permits a record to          inadmissible." Id. § 703.05. Rule 703 does not authorize
be admitted into evidence if "[t]he appearance, contents,
substance, internal patterns, or other distinctive
characteristics of the item, taken together with all the      4

circumstances" "support a finding that the item is what
the proponent claims it is." Fed. R. Evid. 901(a), (b)(4).        HN7[ ] An expert may base an opinion on facts or data
                                                                  in the case that the expert has been made aware of or
In support of its Rule 901(b)(4) argument, Wi-LAN                 personally observed. If experts in the particular field
states only that "there was no legitimate reason to               would reasonably rely on those kinds of facts or data in
question the trustworthiness of the source code."                 forming an opinion on the subject, they need not be
                                                                  admissible for the opinion to be admitted. But if the facts
Appellant's Br. 54. The district court concluded that the
                                                                  or data would otherwise be inadmissible, the proponent
source code printout's "appearance, contents,
                                                                  of the opinion may disclose them to the jury only if their
substance, internal patterns, [and] other distinctive
                                                                  probative value in helping the jury evaluate the opinion
characteristics," Fed. R. Evid. 901(b)(4), did not satisfy        substantially outweighs their prejudicial effect.
Rule 901(b)(4)'s strictures "given the highly dubious
circumstances surrounding the production and the lack         Fed. R. Evid. 703.
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admitting inadmissible evidence "on the pretense that it     Wilson Assocs., 965 F.2d 160, 173 (7th Cir. 1992)). The
is the basis for expert opinion when, in fact, the expert    court further explained that "Rule 703 'was not intended
adds nothing to the [inadmissible evidence] other than       to abolish the hearsay rule and to allow a witness, under
transmitting [it] to the jury." 29 Charles Alan Wright,      the guise of giving expert testimony, to in effect become
Arthur R. Miller & Victor J. Gold, Federal Practice and      the mouthpiece of the witnesses on whose statements
Procedure § 6274 (2d ed. 2020). "In such a case, Rule        or opinions the expert purports to base his opinion.'" Id.
703 is simply inapplicable and the usual rules regulating    (citation omitted).
the admissibility of evidence control." Id. Rule 703 HN9[
   ] permits the proponent of an expert's opinion to         In United States v. Tomasian, 784 F.2d 782 (7th Cir.
disclose the underlying material to a jury if "experts in    1986), the Seventh Circuit held that the trial court
the particular field would reasonably rely on" the           correctly prevented an expert from testifying when the
underlying material and "if [the underlying material's]      expert did not plan to offer his own opinion but, instead,
probative value in helping the jury evaluate the opinion     planned to repeat the out-of-court opinion of another
substantially outweighs [its] prejudicial effect." [*17]     person. Id. at 786. HN12[ ] The court explained that
Fed. R. Evid. 703. But "the trial judge must give a          "Rule 703 does not sanction the simple transmission of
limiting instruction upon request, informing the jury that   hearsay; it only permits an expert opinion based on
the underlying information must not be used for              hearsay." Id.5
substantive purposes." Fed. R. Evid. 703 advisory
committee's notes to the 2000 amendments. These              United States v. Rollins, 862 F.2d 1282 (7th Cir. 1989),
principles have been reaffirmed repeatedly.                  cited in the advisory committee notes to Rule 703, is
                                                             also informative. There, the Seventh Circuit noted that it
Exemplary is the Second Circuit's decision in United         would be "improper" to use an expert as a "mouthpiece"
States v. Mejia, 545 F.3d 179 (2d Cir. 2008), where the      to relay hearsay [*19] to the jury but held that the
court held that the government's expert witness could        expert could properly give testimony interpreting
not simply repeat hearsay to the jury. The Second            hearsay because experts in the relevant field "ordinarily
Circuit explained that the expert "identified hearsay as     relied" on hearsay in reaching their opinions. Id. at 1293.
the source of much of his information" during cross-
examination and "did not analyze his source materials        Here, the district court concluded that the source code
so much as repeat their contents." Id. at 197-98.            printout could not be admitted under Rule 703 because
Because the expert simply provided second-hand               it was not authenticated and, as a result, Wi-LAN was
evidence to the jury, the court held that the expert's       attempting to use Rule 703 as a "'backdoor' to allow the
testimony fell outside the permissible bounds of Rule        admission into evidence of otherwise inadmissible
703. Id. at 198.                                             declarations and other materials simply because they
                                                             might assist the jury's evaluation of an expert's
The Second Circuit reached a similar conclusion in           opinions." J.A. 31. We agree. Wi-LAN attempts to do
Marvel Characters, Inc. v. Kirby, 726 F.3d 119 (2d Cir.      exactly what is impermissible under Rule 703 by using
2013). There, the Second Circuit held that, HN10[ ]          its expert as a substitute for a fact witness to circumvent
although Rule 703 "permit[ted] experts some leeway" in       the rules of evidence to admit otherwise inadmissible
basing their opinions on inadmissible evidence, "a party     evidence.
cannot call an expert simply as a conduit for introducing
hearsay under the guise that the testifying expert used      HN14[ ] As to the second question (the admissibility of
the hearsay as the basis of his testimony." Id. at 136       the expert's testimony as to infringement), under Rule
(citation omitted). Rather, the court explained, "[t]he      703, "[d]ata relied on by the expert 'need not be
appropriate [*18] way to adduce factual details of           admissible for the opinion to be admitted' if experts in
specific past events is, where possible, through persons
who witnessed those events." Id.

HN11[ ] Similarly, the Fifth Circuit has explained that      5 See also United States v. Smith, 869 F.2d 348, 355 (7th Cir.
"[c]ourts . . . must serve a gate-keeping function with      1989) ("It is, of course, true that HN13[ ] an expert witness
respect to Rule 703 opinions to ensure 'the expert isn't     may not simply summarize the out-of-court statements of
being used as a vehicle for circumventing the rules of       others as his testimony."); United States v. Lawson, 653 F.2d
evidence.'" Factory Mut. Ins. Co. v. Alon USA L.P., 705      299, 302 (7th Cir. 1981) ("The Government could not, for
F.3d 518, 524 (5th Cir. 2013) (quoting In re James           example, simply produce a witness who did nothing but
                                                             summarize out-of-court statements made by others.").
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the field would reasonably rely on such data." Power             D
Integrations, Inc. v. Fairchild Semiconductor Int'l, Inc.,
711 F.3d 1348, 1373 (Fed. Cir. 2013) (quoting Fed. R.            In light of these admissibility issues, Wi-LAN's fallback
Evid. 703). "[I]t is the judge who makes the                     position is that the district court should have granted it
determination of reasonable reliance, and . . . for the          additional time to obtain an admissible version of the
judge to make the factual determination under Rule               source code. We disagree. Wi-LAN had ample time to
104(a) that an expert is basing his or her opinion [*20]         obtain the source code and to find custodial witnesses
on a type of data reasonably relied upon by experts, the         to authenticate the source code over the course of
judge must conduct an independent evaluation into                discovery but failed to do so.
reasonableness." In re Paoli R.R. Yard PCB Litig., 35
                                                                 Wi-LAN had been on notice since early 2016 that it was
F.3d 717, 748 (3d Cir. 1994). The burden to establish
                                                                 going to need the system-on-chip source code from
reasonable reliance is on the proponent of challenged
                                                                 third parties to prove its direct infringement case.
expert testimony. See id. at 743-44, 747-48.
                                                                 Throughout the litigation, Wi-LAN repeatedly requested
Wi-LAN argues that experts typically rely on material,           extensions of time to obtain the source code from the
like source code, in reaching opinions about                     third-party manufacturers. Ultimately, however, Wi-LAN
infringement. That is obviously correct. But Wi-LAN has          only procured a single printout version of the source
not made a showing that source code experts                      code [*22] with declarations after suing the third-party
reasonably rely on unauthenticated source code                   manufacturers.
printouts.
                                                                 Wi-LAN, as the district court found, "had ample time and
In support of its position, Wi-LAN cites Factory Mutual          opportunities over years of litigation to obtain evidence
Insurance Co. v. Alon USA L.P., contending that the              of    infringement      from     the     [system-on-chip]
case stands for the proposition that experts can                 manufacturers" but failed to do so. J.A. 32. Given this
reasonably rely on inadmissible evidence (out-of-court           record, the district court did not abuse its discretion in
statements as to property value) to reach their                  denying Wi-LAN an additional opportunity to obtain an
conclusions as appraisers. There, the Fifth Circuit              admissible form of the source code.
permitted the testimony "[i]n light of the deferential           II
standard on appeal" because the expert "clearly state[d]
that the sort of information relied upon here—the                With respect to the '250 patent, Wi-LAN challenges the
opinions of others—is the sort of information reasonably         district court's construction of two claim limitations: (1)
relied upon by appraisers." 705 F.3d at 525. Wi-LAN              output multimedia data stream" and (2) "a multimedia
points to no similar testimony by its expert here.               processor, coupled to the data rate analyzer." HN15[ ]
                                                                 We review a district court's ultimate claim construction
Wi-LAN's conclusory statement that "the declarations             de novo where, as here, there is no extrinsic evidence
and source code evidence are the type of                         that bears on the claim construction. Allergan Sales,
information [*21] that an expert 'would reasonably rely          LLC v. Sandoz, Inc., 935 F.3d 1370, 1373 (Fed. Cir.
on . . . in forming an opinion' under FRE 703," J.A.             2019).
15,454, is not sufficient. See Schuchardt v. President of
the United States, 802 F. App'x 69, 76 (3d Cir. 2020)            The two limitations at issue appear in each of the
(holding that simply asserting that certain "documents           asserted claims. Claim 1, the one asserted independent
are the 'type of data that experts in the intelligence           claim on which the other two asserted claims depend,
community would typically and reasonably rely upon'"             provides:
"provided no basis for the Court to conduct an
independent evaluation into reasonableness" under                     1. In a system for combining input multimedia data
Rule 703).                                                            streams to form an output multimedia data stream,
                                                                      an apparatus for adjusting rates of the input
The district court did not abuse its discretion in rejecting          multimedia data streams comprising:
Wi-LAN's theory under Federal Rule of Evidence 703.6
                                                                      a data rate analyzer, coupled to the output
                                                                      multimedia data stream, for [*23] determining the
6 We  have reviewed Wi-LAN's other arguments concerning the           data rate of the output multimedia data stream; and
admissibility of the source code printout and declarations and
find them to be without merit.                                        a multimedia processor, coupled to the data rate
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     analyzer, for comparing the determined output            204, for later transfer to the communications device 112,
     multimedia data stream data rate to a target output      or other recipient of the Program or Transport Stream
     data stream data rate, and generating rate control       224." Id. col. 6 ll. 23-26 (emphasis added). In each of
     signals for adjusting the data rates of the input        these examples, the output multimedia data stream is
     multimedia data streams responsive to the                being output from the integrated multimedia encoding
     comparison.                                              system. The district court's construction of "output
'250 patent, col. 9 ll. 28-41 (emphases added).               multimedia data stream" as a "combined audio and
                                                              video stream that are output from the system" was
The district court construed "output multimedia data          correct.
stream" to mean a "combined audio and video stream
that are output from the system." J.A. 68. Wi-LAN             Next, we address the construction of "a multimedia
argues that "the limitation imposed by the court's            processor, coupled to the data rate analyzer." The
construction . . . — that it must be 'output from the         district court construed this limitation to mean "a
system'—is not supported by any intrinsic evidence."          multimedia processor connected to the data rate
Appellant's Br. 61. In Wi-LAN's view, the district court's    analyzer, where the multimedia processor is separate
construction improperly limits the claims because the         from, and not a subcomponent of, the data rate
plain meaning of the term "is not restricted to any device    analyzer." J.A. 70. The district court's construction was
or system." Id. at 61-62. We disagree.                        based on the patent's consistent use of "coupled" "to
                                                              refer to components that are not subcomponents of
The '250 patent's specification explains that the             each other" and "in" "to refer to components that could
"claimed input multimedia data streams" are combined          be sub-components of each other." J.A. [*26] 71. Wi-
into a single output data stream within the claimed           LAN asserts that the district court "incorrectly limited the
"integrated multimedia encoding system" and that that         plain meaning of the term 'couple'—i.e., 'connected'—by
system transmits the data stream to other components          further requiring 'the multimedia processor [to be]
of the larger computer system. E.g. [*24] , '250 patent,      separate from, and not a sub-component of, the data
col. 3, ll. 14-19 ("The output of the integrated multimedia   rate analyzer.'" Appellant's Br. 63 (quoting J.A. 70).
encoding       system     120    is    transmitted   to   a   Further, Wi-LAN contends that the district court
communications device 112 for transporting the                "improperly extracted a limitation from the specification
encoded and multiplexed data or a storage medium 116          based on exemplary embodiments without identifying
for storage of the program or transport stream data, or a     evidence that the patentee intended the claims to be so
decoder for decoding the data for playback." (emphases        limited, let alone evidence that would meet the strict
added)); id. col. 4 ll. 14-17 ("The combined stream data      standards for clear disavowal of claim scope."
224 is stored back into the unified memory module 204.        Appellant's Br. 64 (quoting J.A. 70-71). We reject Wi-
Bus 122 is used to access the combined stream data            LAN's arguments and conclude that the district court's
224 for transmission to other components of the system        construction of this limitation was correct.
100." (emphasis added)).

The '250 patent's description of its figures adds further
                                                              CONCLUSION
support for the district court's construction. For example,
the specification explains that, in Figure 2, which           For the reasons stated above, the district court's
"illustrates the [claimed] integrated multimedia encoding     judgment is affirmed.
system 120," id. col. 3 ll. 23-24, "the combined stream
data 224 for transmission to other components of the          AFFIRMED
system 100." Id. col. 4 ll. 15-17. Similarly, the
specification explains that, as illustrated in Figure 1,
"[t]he output of the integrated multimedia encoding             End of Document
system 120 is transmitted to a communications device
112 for transporting the encoded and multiplexed data
or a store medium 116 for storage of the program
or [*25] transport stream data, or a decoder for
decoding the data playback." Id. col. 3 ll. 14-19. The
specification also describes Figure 7 as showing "the
data 224 . . . temporarily [being] written back to memory
